                              Case 2:23-cv-04347-DMG-E Document 88 Filed 03/06/24 Page 1 of 40 Page ID #:897



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                                       10 215.866.0112
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                                          Academia Spectrum LLC, Carl Katerndahl,
                                       12 Andreas Bitzarakis, Tyler Kratz, and Karen
                                          Winnick, as Trustee of the GKW Trust and Special
                                       13 Administrator of the Estate of Gary Winnick
                                       14
                                                                      UNITED STATES DISTRICT COURT
                                       15
                                                                    CENTRAL DISTRICT OF CALIFORNIA
                                       16
                                       17 T-Mobile US Inc., et al.,                       Civil Action No. 2:23-4347-DMG-E
                                       18                      Plaintiffs,                (Hon. Dolly M. Gee)

                                       19              vs.                                Request For Judicial Notice In
                                       20 WCO Spectrum LLC, et al.,                       Support Of Defendants WCO
                                                                                          Spectrum LLC, Academia
                                       21                      Defendants.                Spectrum, LLC, Gary Winnick,
                                       22                                                 Carl Katerndahl, Andreas
                                                                                          Bitzarakis, And Tyler Kratz’s
                                       23                                                 Motion To Dismiss
                                       24
                                                                                          Hearing Date: April 26, 2024
                                       25                                                 Time: 9:30 a.m.
                                       26                                                 Courtroom: 8C
                                       27                                                 Complaint Filed: June 2, 2023
                                       28
          BUCHALTER
A P R O F E S S I ON A L C OR P OR A T I O N
            L O S A N G E LE S
                                               BN 78613337v1                          1
                                                    REQUEST FOR JUDICIAL NOTICE IN SUPPORT OF DEFENDANTS’ MOTION TO DISMISS
                              Case 2:23-cv-04347-DMG-E Document 88 Filed 03/06/24 Page 2 of 40 Page ID #:898



                                               1        PLEASE TAKE NOTICE that, pursuant to Federal Rule of Evidence 201
                                               2 and the doctrinal authority cited herein, Defendants WCO Spectrum, LLLC,
                                               3 Academia Spectrum, LLC, Gary Winnick, Carl Katerndahl, Andreas Bitzarakis, and
                                               4 Tyler Kratz (collectively, the “WCO Defendants”), request that the Court take
                                               5 judicial notice of the following exhibits, made in support of Defendants Motion to
                                               6 Dismiss filed concurrently herewith.
                                               7        1.    Exhibit A is a true and correct copy of the Commitment Cost
                                               8 Agreement (“CCA”) between WCO Spectrum, LLC and Albright College. On a
                                               9 motion to dismiss, the Court may consider the contents of “the complaint, materials
                                       10 incorporated into the complaint by reference, and matters of which the [C]ourt may
                                       11 take judicial notice.” Metzler Inv. GMBH v. Corinthian Colls., Inc., 540 F.3d 1049,
                                       12 1061 (9th Cir. 2008). Where a Complaint selectively quotes from a document, the
                                       13 Court may review the document’s full text. Cooper v. Pickett, 137 F.3d 616, 623 (9th
                                       14 Cir. 1997); see also Rosales-Martinez v. Palmer, 753 F.3d 890, 895 (9th Cir. 2014)
                                       15 (“Courts are instructed, in deciding Rule 12(b)(6) motions, to read the allegations of
                                       16 a complaint in the context of the full documents and, where appropriate, to accept the
                                       17 documents, rather than a characterization of the documents, as the true account.”).
                                       18 The Court may also consider “evidence on which the complaint ‘necessarily relies’
                                       19 if: (1) the complaint refers to the document; (2) the document is central to the
                                       20 plaintiff’s claim; and (3) no party questions the authenticity of the copy attached to
                                       21 the 12(b)(6) motion.” Marder v. Lopez, 456 F.3d 445, 448 (9th Cir. 2006).
                                       22               Here, Complaint refers to it as the CCA at least twenty-five times, and
                                       23 describes it as a “secret side deal” or arrangement for a “kickback” several more. The
                                       24 CC is thus both incorporated into the Complaint by reference and is evidence on
                                       25 which the Complaint necessarily relies.
                                       26               2.    Exhibit B is a true and correct copy of the Complaint, captioned TDI
                                       27 Acquisition Sub LLC v. Albright College, filed by Plaintiff TDI Acquisition Sub LLC
                                       28 against Albright College in the Court of Common Pleas, Berks County Pennsylvania
          BUCHALTER
A P R O F E S S I ON A L C OR P OR A T I O N
            L O S A N G E LE S
                                                                                          2
                                                      REQUEST FOR JUDICIAL NOTICE IN SUPPORT OF DEFENDANTS’ MOTION TO DISMISS
                              Case 2:23-cv-04347-DMG-E Document 88 Filed 03/06/24 Page 3 of 40 Page ID #:899



                                               1 on or around May 27, 2021. As this Court has noted previously, “[c]ourt filings and
                                               2 orders issued in related litigation are [] proper subjects of judicial notice.” Vampire
                                               3 Family Brands, LLC v. MPL Brands, Inc., No. CV 20-9482-DMG (ASX), 2021 WL
                                               4 4134841, at *1 (C.D. Cal. Aug 6, 2021) (Gee, J.) (citing Reyn’s Pasta Bella, LLC v.
                                               5 Visa USA, Inc., 442 F.3d 741, 746 n.6 (9th Cir. 2006)).
                                               6         2.    Exhibits C and D are true and correct copies of articles from the New
                                               7 York Times and Wall Street Journal discussing a breakup fee paid by AT&T to T-
                                               8 Mobile in an amount between $4 billion and $6 billion in an aborted transaction by
                                               9 AT&T to acquire T-Mobile for $39 billion—more than 10% of the value of the
                                       10 transaction. Defendants submit that the accuracy of the facts stated in the articles are
                                       11 “not subject to reasonable dispute and capable of accurate and ready determination
                                       12 by sources whose accuracy cannot reasonably be questioned.” Rueda Vidal v. U.S.
                                       13 Dept. of Homeland Security, 536 F. Supp. 3d 604, 612-13 (C.D. Cal. 2021) (Gee, J.)
                                       14 (quoting Campbell v. Pricewaterhouse Coopers, LLP, 642 F.3d 820, 824 n.3 (9th Cir.
                                       15 2011). That said, even if the court declines to take judicial notice of the matters
                                       16 contained in these articles as factually true, the Court may still take judicial notice
                                       17 that the articles “indicate what was in the public realm at the time, [without
                                       18 considering] whether the contents of [the] articles [are] in fact true.” Rueda Vidal,
                                       19 536 F. Supp. 3d at 613 (taking judicial notice of certain Tweets and news articles as
                                       20 reflecting what was in the public realm at the time); see also Grill v. Lincoln Nat’l
                                       21 Life Ins. Co., No. EDCV 140051JGBSPX, 2014 WL 12588652, at *3 (C.D. Cal. June
                                       22 3, 2014) (taking judicial notice of news articles from, inter alia, the Wall Street
                                       23 Journal and New York Times as indicating what was in the public realm at the time).
                                       24                As the above-referenced document are properly the subject of judicial notice
                                       25 pursuant to Fed. R. Evid. 201 and the authority cited herein, Defendants respectfully
                                       26 request that the Court take judicial notice of them and consider them in ruling on
                                       27 Defendants’ Motion to Dismiss filed concurrently herewith.
                                       28
          BUCHALTER
A P R O F E S S I ON A L C OR P OR A T I O N
            L O S A N G E LE S
                                                                                            3
                                                      REQUEST FOR JUDICIAL NOTICE IN SUPPORT OF DEFENDANTS’ MOTION TO DISMISS
                              Case 2:23-cv-04347-DMG-E Document 88 Filed 03/06/24 Page 4 of 40 Page ID #:900



                                               1                                     Respectfully submitted,
                                               2 DATED: March 6, 2024                BUCHALTER
                                                                                     A Professional Corporation
                                               3
                                               4
                                                                                     By: /s/Joshua M. Robbins
                                               5                                         Joshua M. Robbins
                                                                                         Mark T. Cramer
                                               6                                         Thomas J. Speiss, III
                                                                                         S. Ross Garrett
                                               7
                                                                                        MITTS LAW LLC
                                               8                                        Maurice R. Mitts (admitted pro hac
                                                                                        vice)
                                               9
                                                                                        Attorneys for Defendants WCO
                                       10                                               Spectrum LLC, Academia Spectrum
                                                                                        LLC, Carl Katerndahl, Andreas
                                       11                                               Bitzarakis, Tyler Kratz, and Karen
                                                                                        Winnick, as Trustee of the GKW Trust
                                       12                                               and Special Administrator of the Estate
                                                                                        of Gary Winnick
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          BUCHALTER
A P R O F E S S I ON A L C OR P OR A T I O N
            L O S A N G E LE S
                                                                                       4
                                                     REQUEST FOR JUDICIAL NOTICE IN SUPPORT OF DEFENDANTS’ MOTION TO DISMISS
Case 2:23-cv-04347-DMG-E Document 88 Filed 03/06/24 Page 5 of 40 Page ID #:901




                Exhibit A
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                                    COMMITMENT COSTS AGREEMENT

         This Commitment Costs Agreement is made as of April 30, 2021 ("Agreement') by and
   between Albright College ("Licensee") and WCO Spectrum, LLC or an entity affiliated with
   WCO ("WCO"). For the absence of doubt, no commitment costs or other fees are due if
   WCO purchases the License from Licensee.

          WHEREAS, concurrent with and contingent on the execution of this Agreement, WCO is
   submitting a non-binding offer letter dated as of the date hereof (the "Offer") to the Licensee to
   purchase certain Educational Broadband Service ("EBS") license(s) issued to the Licensee by the
   Federal Communications Commission, as more fully described in the Offer (the ''License ');

           WHEREAS, the License is subject to a certain lease agreement and that lease agreement
   contains certain rights of first refusal or other license sale-related contractual rights in favor of the
   existing lessee of the License (collectively, the "ROFR Provisions");

           WHEREAS, prior to the date hereof, WCO expended significant time, effort and resources,
   and, subject to receiving a favorable response to the Offer, plans to expend significant additional
   time, effort and resources, toward the evaluation, negotiation and documentation of the transaction
   outlined in the Offer;

            WHEREAS, the Offer is valuable to the Licensee and will give the Licensee an opportunity
   to sell the License at an attractive price either to WCO or pursuant to ROFR Provisions;

           WHEREAS, as a condition of WCO preparing and submitting the Offer to the Licensee,
   the Licensee agrees to execute this Agreement;

   NOW, THEREFORE, for good and valuable consideration the receipt and sufficiency of which is
   hereby acknowledged, the Licensee and WCO agree as follows:

   1.     Offer. As a condition to WCO's preparation and submission of the Offer and WCO's
          willingness to continue to commit additional time, effort and resources toward the
          evaluation, negotiation and/or documentation of the transaction outlined in the Offer (the
          "Transaction"), WCO has requested that the Licensee agree to exclusivity and associated
          cost arrangements described herein in consideration of and as an inducement to the
          willingness of WCO to prepare and submit the Offer and continue such efforts, and the
          Licensee has agreed to such arrangements. In the event that the lessee fails to exercise its
          rights under the License's ROFR Provisions, Licensee and WCO shall negotiate in good
          faith an asset purchase agreement ("APA") covering the License that reflects the principal
          terms set forth in the Offer and contains other terms that are industry-sta~dard for AP As of
          such nature. Nothing in this Agreement, however, shall be construed as an obligation of
          any of the parties hereto to ultimately execute such an APA or proceed with the
          Transaction. Each party shall be free, for any good faith reason, to withdraw from
          Transaction discussions and not proceed with a Transaction without obligation or liability
          to the other or to any other person, provided that any such withdrawal by a party from
          discussions shall not affect such party's obligations under this Agreement.




 CONFIDENTIAL                                                                                     TDI0006
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   2.   Exclusivity. The Licensee agrees that from the date hereof until the six month anniversary
        of the date hereof (the "Exclusivity Period"), it shall not, and shall cause its Affiliates and
        any of its or their respective directors, officers, employees, representatives or agents,
        including without limitation investment bankers, lawyers and other advisors (collectively,
        the 'Representatives") not to, do any of the following, or cause any of the following to be
        done, directly or indirectly during the Exclusivity Period: (i) negotiate, authorize, propose
        or enter into a definitive agreement or an agreement in principle with respect to any
        transaction, including options or forwards, that involve a direct or indirect sale, transfer or
        lease of any License to any third party (any of the foregoing, an "Acquisition Transaction"),
        (ii) solicit, conduct any discussions or negotiations with respect to or otherwise knowingly
        encourage or facilitate any submissions of proposals or offers in respect of, an Acquisition
        Transaction, or (iii) furnish or cause to be furnished to any person other than its
        Representatives any information in connection with an Acquisition T~ansaction or any
        information about the Offer (including the identity of WCO) or the terms of this
        Agreement. The Licensee further agrees to immediately suspend, and to instruct its
        Representatives to immediately suspend, any activities that would be prohibited by this
        paragraph. In the event any third party prov ides a proposal or offer to Licensee, in each
        case in connection with an Acquisition Transaction, the Licensee or its Representatives
        shall notify WCO immediately in writing and shall provide WCO with the proposed terms
        and a copy of any materials received in connection therewith.

   3.   ROFR Provisions. Notwithstanding anything contained in Section 2 to the contrary,
        nothing in this Agreement shall prohibit the Licensee from complying with its obligations
        under the ROFR Provisions, including but not limited to entering into an agreement for an
        Acquisition Transaction pursuant to the ROFR Provisions with the existing lessee of the
        License or a party designated by the existing lessee, should the ROFR Provisions permit,
        or closing such transaction, subject to compliance with Section 3 hereto if applicable.
        Unless prohibited by a ROFR Provision, the Licensee shall, within 48 hours, provide notice
        to WCO of the receipt and substance of any communications indicating that lessee intends
        to exercise or decline to exercise the applicable ROFR Provision, or any correspondence
        related to instigating litigation or threat of litigation resulting in any notice or other
        communication the Licensee receives from the lessee during the Exclusivity Period. The
        Licensee shall be deemed to fulfill the obligation to provide such notice if . sent
        electronically, with the appropriate correspondence attached, to the following email:
        ckaternclah l@winnickco.com .

   4.   Commitment Costs. In addition, and without limiting the foregoing, if, at any time from the
        date hereof and for a period of 18 months the existing lessee or an affiliate enters into an
        agreement for an Acquisition Transaction and it is consummated thereafter, then the
        Licensee agrees to pay commitment costs in the amount as set forth in Exhibit A to an
        account designated by WCO, with such payment to be made no later than the tenth (10 th )
        business day following the closing of such Acquisition Transaction regardless of when
        such closing occurs.      In the event that the lessee does not exercise or otherwise waives
        their right of first refusal and declines to purchase the license, and WCO purchases the
        license, then the Commitment Costs are deemed waived by WCO. The Commitment Costs
        include fees and costs assessed and/or incurred by WCO in pursuing the transaction


                                                  2


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        including a termination/non-consummation fee, and third party brokerage, administration,
        due diligence, legal, accounting and financial commitment costs.

   5.   Confidentiality. This Agreement is confidential information pursuant to the Non-
        Disclosure Agreement executed on February 17 th , 2021 between the partjes.

   6.   Definitions. The term "A ffil iate" means with respect to a party, any other Person that,
        directly or through one or more intermediaries, is controlled by, controls, is under common
        control or has common material beneficial ownership with such party. The term "Person"
        means any general partnership, limited partnership, limited liability company, corporation,
        joint venture, trust, business trust, governmental authority, cooperative, association, other
        entity, or individual, and the heirs, executors, administrators, legal representatives,
        successors, and assigns of such person as the context may require.

   7.    Governing Law and Venue. This Agreement shall be governed by, and the rights and duties
        of the parties hereunder shall be construed in accordance with, the laws of the State of
        Pennsylvania. The parties hereby irrevocably and unconditionally consent and submit to
        the exclusive jurisdiction of the courts of the State of Pennsylvania, and of the United States
        of America located in Berks County for any actions, suits or proceedings arising out of or
        relating to this Agreement (and agree not to commence any action, suit or proceeding
        relating thereto except in such courts, and further agree that service of any process,
        summons, notice or document by U.S. registered mail to their respective addresses set forth
        above shall be effective service of process for any action, suit or proceeding brought against
        either party in any such court). The parties hereby irrevocably and unconditionally waive
        any objection that either party may now or hereafter have to the laying of venue of any
        action, suit or proceeding arising out of or relating to this Agreement iri. the courts of the
        State of Pennsylvania or the United States of America located in Berks County, and hereby
        further irrevocably and unconditionally waive and agree not to plead or claim in any such
        court that any such action, suit or proceeding brought in any such court has been brought
        in an inconvenient forum. THE PARTIES FURTHER IRREVOCABLY AND
        UNCONDITIONALLY WAIVE THE RIGHT TO A JURY TRIAL IN CONNECTION
        WITH ANY ACTION, SUIT OR PROCEEDING ARISING OUT OF OR RELATING
        TO THIS LETTER AGREEMENT. In the event of litigation relating to this Agreement,
        the non-prevailing party as determined by a couti of competent jurisdiction will be liable
        for, and will pay to the prevailing party, the reasonable cost of such litigation, including,
        without limitation, outside legal fees incurred by the prevailing party in connection with
        such litigation (including any appeal relating thereto).

   8.    Specific Performance. The parties hereto agree that irreparable damage would occur in the
         event any provision of this Agreement was not performed in accordance with the terms
         hereof, that the parties hereto shall be entitled to specific performance of the terms hereof,
         in addition to any other remedy at law or equity, and that any requirement for the proving
         of actual damages or the securing or posting of any bond in connection with such remedy
         is waived. This Agreement may be executed by facsimile signature and in counterparts.




                                                   3


 CONFIDENTIAL                                                                                TDI0008
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   9.    Miscellaneous. This Agreement may not be assigned by operation of law or otherwise
         without the express prior written consent of the other parties hereto. This Agreement may
         not be amended or modified except by an instrument in writing signed by each of the parties
         to this Agreement. This Agreement is the complete and exclusive statement of the parties'
         agreement with respect to the subject matter and supersedes all other oral and written
         agreements or communications between the parties prior to the execution of this
         Agreement relating to this subject matter. Nothing in this Section is intended to limit or
         exclude any liability for fraud by either party prior to the execution of this Agreement.
         Sections 2-5, 7-8 and 9 of this Agreement shall survive any termination of the Agreement
         until the third anniversary of the date of such termination.

                                     [Sign.atures on next page.]




                                                  4


 CONFIDENTIAL                                                                             TDI0009
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                         [Signature page for Commitment Costs Agreement]

          In order to confirm our mutual agreement as set forth in this Agreement, please sign this
   Agreement in the space provided below and return it to us, whereupon it shall constitute our
   binding agreement with respect to the subject matter hereof.


                                WCO SPECTRUM LLC



                                By:   (L};t;1/W
                                Name: Carl Katerndahl
                                Title: Managing Partner



                                Albright College


                                By:_ _   Ou
                                         -.-=-_
                                              , .,. ~
                                                    .--'-'-~-' ,{_~--- --
                                Name: J~cqU;;s. Fetrow
                                Title: President, Albright College




                                                   5



 CONFIDENTIAL                                                                            TDI0010
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                                     EXHIBTT A

                                 COMMITMENT COSTS


           Call Sign       Market                   Commitment Costs
           WND475          Reading, PA                             $1,620,000
           Total                                                   $1,620,000



             NO COMMITMENT COSTS ARE DUE IF WCO PURCHASES THE LICENSE




                                         6



 CONFIDENTIAL                                                                   TDI0011
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                Exhibit B
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.   ,




           KLEINBARD LLC
           By: Steven J. Engelmyer
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           sengelmyer@kleinbard.com
           Paul G. Gagne, PA ID No. 42009
           pgagne@kleinbard.com
           Three Logan Square
           1717 Arch Street, 5th Floor
           Philadelphia, PA 19103
           Telephone: 215-568-2000
           Attorneys for Plaintiff
           TD! Acquisition Sub LLC


           TOI ACQUISITION SUB-LLC,                       IN THE COURT OF COMMON PLEAS
                                                          OF BERKS COUNTY, PENNSYLVANIA
                       Plaintiff

           v.                                             CIVIL ACTION/DECLARATORY
                                                          JUDGMENT
           ALBRIGHT COLLEGE,
                                                          NO.
                       Defendant.




                                                NOTICE TO DEFEND
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                                         NOTICE TO DEFEND
                                   NOTIFICACION PARA DEFENDERSE

                             NOTICE                                                      AVISO
     You have been sued in court. If you wish to defend         Le han demandado a usted en el tribunal. Si usted
     against the claims set forth in the following pages, you   quiere defenderse de las demandas expuestas en las
     must take action within twenty (20) days after this        paginas siguientes, usted debe tomar accion en el plazo
     complaint and notice are served, by entering a written     de veinte (20) dias a partir de la fecha en que se le hizo
     appearance personally or by attorney and filing in         entrega de la demanda y la notificacion, al interponer
     writing with the court your defenses or objections to      una comparecencia escrita, en persona o por un
     the claims set forth against you. You are warned that      abogado y registrando por escrito en el tribunal sus
     if you fail to do so the case may proceed without you      defensas o sus objeciones a las demandas en contra de
     and a judgment may be entered against you by the           su persona. Se le advierte que si usted no lo hace, el
     court without further notice for any money claimed         caso puede proceder sin usted y podria dictarse un
     in the complaint or for any other claim or relief          fallo por el juez en contra suya sin notificaci6n
     requested by the plaintiff. You may lose money or          adicional y podria ser por cualquier dinero reclamado
     property or other rights important to you.                 en la demanda o por cualquier otro reclamo o
     YOU SHOULD TAKE THIS PAPER TO YOUR                         desagravio en la demanda solicitado por el
     LA WYER AT ONCE. IF YOU DO NOT HA VE A                     demandante. Usted puede perder dinero o sus
     LA WYER, GO TO OR TELEPHONE THE OFFICE                     propiedades u otros derechos importantes para usted.
     SET FORTH BELOW. THIS OFFICE CAN                           USTED DEBE LLEV ARLE ESTE DOCUMENTO A
     PROVIDE YOU WITH INFORMATION ABOUT                         SU ABOGADO INMEDIATAMENTE. SI NO TIENE
     HIRING A LA WYER.                                          ABOGADO ONO PUEDE CORRER CON LOS
     IF YOU CANNOT AFFORD TO HIRE A LA WYER,                    GASTOS DE UNO, VAY A O LLAME POR
     THIS OFFICE MAY BE ABLE TO PROVIDE YOU                     TELEFONO A LA OFICINA EXPUESTA ABAJO.
     WITH INFORMA TfON ABOUT AGENCIES THAT                      ESTA        OFICINA           PUEDE           POVEERLE
     MAY OFFER LEGAL SERVICES TO ELIGIBLE                       INFORMACION             RESPECTO           ,:\.   COMO
     PERSONS AT A REDUCED FEE OR NO FEE.                        CONTRATARA UN ABOGADO.
                                                                SI NO PUEDE CORRER CON- LOS GASTOS PARA
               Lawyers' Referral Service of the
                                                                CONTRATAR A UN ABOGADO, ESTA OFICINA
                Berks County Bar Association
                                                                PUDIERA           PROVEERLE            INFORMACION
                      544 Court Street                          RESPECTO A INSTITUCIONES QUE PUEDAN
                Reading, Pennsylvania 19601                     OFRECER SERVICIOS LEGALES A PERSONAS
                  Telephone (610)375~4591                       QUE CALIFICAN PARA LA REDUCCION DE
                     www.BerksBar.org                           HONORARIOS O QUE NO TENGAN QUE PAGAR
                                                                HONORARIOS.
                                                                Servicio de Recomendacion para Contratar Abogados
                                                                     del Colegio de Abogados del Condado Berks
                                                                                   544 Court Street
                                                                             Reading, Pennsylvania 19601
                                                                               Telefono (610) 375-4591
                                                                                  www.BcrksBar.org
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   KLEINBARD LLC
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   Three Logan Square
   171 7 Arch Street, 5th Floor
   Philadelphia, PA 19103
   Telephone: 215-568-2000
   Attorneys for Plaintiff
   TD! Acquisition Sub LLC


   TDI ACQUISITION SUB LLC,
                                                      IN THE COURT OF COMMON PLEAS
                                                      OF BERKS COUNTY, PENNSYLVANIA
          Plaintiff

   V.
                                                      CIVIL ACTION/DECLARATORY
                                                      JUDGMENT
   ALBRIGHT COLLEGE,
                                                      NO.
          Defendant.


                                                      JURY TRIAL DEMANDED


    COMPLAINT FOR BREACH OF CONTRACT AND DECLARATORY JUDGMENT


         Plaintiff TD! Acquisition Sub, LLC, by its undersigned counsel, hereby alleges the

  following for its complaint against Defendant Albright College:

                                   NATURE OF THE ACTION

         1.      In this action, Plaintiff TDI Acquisition Sub LLC ("TOI") seeks to prevent

  Defendant Albright College ("Albright") from selling-in breach of the parties' contract-a

  Federal Communications Commission ("FCC") license to use certain radio frequency spectrum in

  the Reading, Pennsylvania area (the "License"). Section 3(a) of the contract is an exclusivity


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           Case 2:23-cv-04347-DMG-E Document 88 Filed 03/06/24 Page 16 of 40 Page ID #:912




             provision that prohibits A lbright from selling or assigning the License unless

             -            set forth in subsection I 0(c) applies.

                                                                                      as that term 1s defined 111

             subsection I 0(c). Because Albright is the party seeking to invoke this                           , it

             bears the burden of establishing that                  applies. Albright has not carried that burden.

  ~
 00          Although both it and the proposed assignee of the License- an entity called WCO Spectrum LLC
 00
 -.:!'
 0
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  I
             ("WCO"), which provided A lbright w ith a non-binding offer to buy the License- have offered
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 z           purely conclusory statements to the effect that WCO is not                             both Albright

             and WCO have refused to provide any in formation that would substantiate (or disprove) those

             statements. And the little information WCO has disclosed provides reason to believe

             does not apply.

                     2.      Accordingly, unless and until Al bright establishes that the

             applies- including, most significantly, that WCO is not                           - it should not be

             permitted to sell or assign the License to WCO, or should be required to unwind any such

             transaction to the extent Albright already has purported to effect it.

                    3.      In addition, Section 3(b) of the contract grants TDI a

                                                                                                      Under that

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                                                           PARTIES

                      4.      Plaintiff TD! is a Delaware limited liability company. Its ultimate parent company

  !""'I
 00           is T-Mobile US, Inc, 12920 SE 38th St., Bell evue, Washington 98006.
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 !""'I                5.      Defendant Albright College is a Pennsylvania non-profit corporation headquartered
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 z......0     in Reading, Pennsy lvania, with its main address at I 62 1 N. 13 th St., Reading, Pennsylvania 19604.
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    C.I
    0                                          JURISDICTION AND VENUE
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 I.                   6.     This Court has jurisdiction over this action pursuant to 42 Pa. C.S.A. § 931 and 42
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   c::        Pa. C.S.A. § 7532.
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 Q..                  7.     This Court has general persona l jurisdiction over Albright because it is incorporated

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              in Pennsy lvanja and its principal pl ace of business is in Pennsylvania. This Court has specific
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 !""'I        personal jurisdiction over A lbright because Albright's conduct relative to this dispute occurred in
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              this forum.
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                     8.      Pursuant to Peru1sylvania Rule of Civil Procedure 2 179(a)( I )-(3), venue is proper
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 C.I          because Berks County is the county where (I) Albright's principal place of business is located;
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~VJ           (2) A lbright regularly conducts business; and (3) the transaction or occurrence took place out of
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......        which TD I's causes of action arose .
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                                         BACKGROUND

  A.     The License.

         9.      Albright has long held an FCC license to use four unique channels of radio-

  frequency spectrum in the Reading, Pennsylvania area. The channels are designated Dl, 02, D3,

  and D4, and the FCC "call sign" for the license is WN0475.

         10.     The licensed channels are part of the Educational Broadband Service ("EBS"),

  which is a range of spectrum that the FCC historically has licensed to educational organizations.

  There are 20 EBS channels in any particular geographic area. They fall within the band of

  spectrum from 2496 to 2690 MHz, commonly referred to as the "2.5 GHz" spectrum band.

         11.     On March 2, 2007, Albright entered into a lease agreement for the four channels

  with Nextel Spectrum Acquisition Corporation (the "Lease Agreement"). 1 Nextel Spectrum

  Acquisition Corporation subsequently changed its name to "NSAC LLC," and on November 5,

  2019, NSAC LLC assigned all of its rights and obligations under the Lease Agreement to TOI.

  See Ex. B.

         12.     Following the Sprint-T-Mobile merger in April 2020, TDI is now an indirect

  subsidiary of T-Mobile US, Inc. Its business is to acquire and hold spectrum rights for use by

  other T-Mobile affiliates.

  B.     Relevant Lease Agreement Terms

         13.     The Lease Agreement contains several terms that are relevant in the event that

  Albright-referred to in the Lease Agreement as "Licensee"-receives an offer to purchase the




  1 A copy of the Lease Agreement is attached hereto as Exhibit A.         TOI has filed the Lease
  Agreement and another EBS lease agreement (Exhibit F) under seal because the parties to those
  contracts agreed to keep their terms confidential. TOI has also filed certain exhibits with
  redactions where those exhibits disclose confidential pricing information.

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             License. First, Section 3(a) provides in relevant pa.ii that,




                    14.    Subsection lO(c) in tum, provides:

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                    15 .   Subsection 10(c) defines




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 :I          2 EBS and BRS, which is short for Broadband Radio Service spect:nnn, occupy different parts of
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             the 2.5 GHz spectrum band.
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                      16.    Under t h e - provision of subsection 3(b) TDI has the right to

                                                                                     To effectuate this right, the

              provision requires that,




                                                    Once all of those conditions (as well as the other conditions

              precedent in the Lease Agreement) are satisfied

                                                            TDI has the right to



                     17.     Finally, subsection 3(f) of the Lease Agreement grants TDI a




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  Like the provisions of subsections 3(a), 3(b), and lO(c), subsection 3(f) constitutes a condition

  precedent that Albright must satisfy before selling the License.

  C.     The FCC Changes the Rules for Holding EBS Licenses

         18.     Prior to April 2020, FCC regulations allowed only educational entities to hold EBS

  spectrum licenses. The FCC, however, permitted EBS licensees such as Albright-most of which

  lacked the technical knowledge, expertise, and infrastructure to operate a commercial

  telecommunications network-to lease all but five percent of their spectrum to non-educational

  entities such as TDI. Nearly all of the 1,300 EBS licensees nationwide did so. That includes

  Albright, which entered into the Lease Agreement with TDI' s predecessor. These leases took

  spectrum that otherwise would have gone unused and used it to support modern high-speed

  broadband telecommunications services.

         19.     Effective April 27, 2020, the educational-use requirement for EBS licenses was

  eliminated. According to the FCC, this change was enacted because "technological changes over

  the last 30 years enable any educator with a broadband connection to access a myriad of

  educational resources." Transforming the 2.5 GHz Band, 86 Fed. Reg. 10839, 10840 (2021).

  Hence, "[o]nly a handful ofEBS licensees ha[d] deployed their own networks or use[d] their EBS

  licenses in a way that require[d] dedicated spectrum. Instead, most licensees rel[ied] on lessees

  [such as TDI] to deploy and operate broadband networks and use[d] the leases as a source for

  revenues or devices." Id.

         20.     With EBS licenses now available to non-educational actors-and with 2.5 GHz

  spectrum being one of the most important components of the emerging 5G telecommunications

  technology-several new entities have entered the market for spectrum licenses, seeking to acquire

  such licenses for commercial gain. One such entity is Winnick & Company, which operates




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  through a number of affiliates, including WCO. Prior to its dealings relative to this case, WCO

  has attempted to acquire dozens of EBS licenses. And Winnick & Company touts on its website

  that it has played an instrumental role in founding and operating multiple telecommunications

  providers,   including   Global    Crossing    and    MetroPCS.       See   Selected    Transactions,

  www.winnickco.com/transactions.html (last visited May 13, 2021). WCO's letters to La Roche

  University, another Pennsylvania college which received a WCO offer, and Albright both state

  that the "principals of WCO have sourced and deployed billions of dollars to fund transformative

  technologies and corporate innovation, providing capital and counsel to dozens of companies in a

  wide range of industries, including Wireless Telecommunications Operations." Exs. C at 1, D at

  1. Although it has refused to disclose its plans for any licenses it acquires, it is clear that WCO is

  trying to assemble a large block of EBS spectrum as would be used in a telecommunications

  network.

  D.     WCO's Earlier Offer to La Roche University

         21.     This is not the first time TDI has been forced to vindicate its rights under an EBS

  lease agreement under the threat of a purported sale of the license to WCO. In October 2020,

  WCO offered to purchase an EBS license leased by TDI and held by La Roche University ("La

  Roche") in Pittsburgh, Pennsylvania. See Ex. C. La Roche received a term sheet from WCO that

  was substantially similar to the one it presented to Albright. See Ex.Cat 3-5. The cover letter to

  that term sheet states that (a) WCO is a "specialist in financing and operating telecommunications

  assets and companies"; (b) WCO "has previously been active in the telecom industry"; and

  (c) Gary Winnick's companies "have consistently received FCC transfer approvals." Ex. Cat 1

  (emphasis added).




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                    22.   After it learned of the La Roche term sheet, TOI asserted its rights under its EBS

           lease agreement with La Roche. On November 25 , 2020 Heather Brown, in-house counsel for T-

           Mobile , sent a letter to Mary Beth Fetchko, Esq., General Counsel at La Roche. Ex. E. The letter

           requested the information and assurances due to TOI under the La Roche lease agreement. 3 The

           La Roche lease agreement provided TOI with substantially similar rights as the Lease Agreement

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           at issue here, including but not limited to:     (i)
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                                     See Ex. F.

                    23.   In response, on December 8, 2020, WCO sent TDI a letter purporting to assure it

           that WCO was not a                       " Ex. G. But the letter merely parroted the definition of

                                from the lease agreement and summari ly denied that WCO meets any of that

           definition' s criteria. WCO provided no facts to support these conclusory assertions .

                    24.   The next day, TDI and La Roche executed a standstill agreement to give themselves

           more time to fulfill TDI s rights. As part of that effort, on December 15, 2020, TDI had a call with

           Winnick & Co. Chairman Gary Winnick. The call was unproductive, as Mr. Winnick did not

           address any of the contractual rights or concerns raised in Ms. Brown's November 25 letter. He

           did, however, make clear that WCO ' s efforts to acquire EBS licenses would not stop with La

           Roche.


           3 The letter referenced NSAC rather than TDI, but as stated NSAC had assigned its rights to TDI.




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                      25.    WCO and La Roche also requested written questions from TDI regarding the

              specific information to which TDI was entitled. TDJ complied, and on December 17 and 18, 2020,

              sent simil ar sets of questions to La Roche and WCO, respectively. See Exs. H, I. These included

              a series of questions under the heading " Whether WCO Is a                             which were

              designed to probe the veracity of WCO's conclusory assertions that it does not meet the .

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 00                                         On December 23 and 24, 2020, WCO and La Roche responded. See
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              Exs. J, K. WCO again recited the Lease Agreement's definiti on of                             stated
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  z.....      that it does not meet any of the three criteria, and provided no supporting information or
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    u         explanation for the assertion. WCO refused to respond lo any of the other questions-including
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   I.,        those about the statements in its cover letter- which it claimed "are outside the bounds of any
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   c::        legal obligation WCO has to [TDI]." Ex. J. La Roche' s response was similarly unilluminating on
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 Q..          the question. See Ex. K.
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                     26.     TD l avoided litigation with La Roche only by exercising its ROFR and purchasing
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              the La Roche license.
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              E.     WCO's Non-Binding Term Sheet to Albright

 0                   27.     On April 30, 2021 , WCO sent Albright a two-page, non-binding term sheet, which
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  ~           proposed a sale of the License for              . See Ex. D.
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~'11                 28.     The term sheet purports to "summarize[] the basic terms and conditions pmsuant
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 .50          to whi ch WCO Spectrum, LLC (the ' Buyer' ) proposes to acquire a certain [EBS] license from
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 .....        A lbright College." It makes clear, however, that
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..::i::              The terms and conditions summarized herein are provided FOR DISCUSSION
                     PURPOS ES ONLY. They do not represent a binding offer, agreement, or
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                     commitment from the Buyer to acquire the EBS license or any other assets, nor are
                     they all-inclusive. Closing of the proposed transaction is subj ect to completion of
....c::>,            due diligence by the Buyer, the satisfaction of customary conditions precedent and
 =                   execution of definitive agreements mutually acceptable to the parties (the
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                    'Defi nitive Agreements'), the provisions of which shall be materially consistent
                    with, though supersede, this Term Sheet and all other understandings between the
                    parties.

            Ex. D at 3.

                    29.    The accompany ing cover letter s imilarly provides that it "is not, and should not be,

            considered a legally binding indication or agreement in any manner, and the failure to execute

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            definitive documentation or consunrn1ate the proposed acquisition shall impose no liabi lity on
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            WCO or Licensee." Ex. D at 2.
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z0          F.      TOI Unsuccessfully Seeks Information to Which It Is Entitled

                    30.    Following its receipt of the Albright term sheet on May 4, 2021, TOI sought the

            various types of information and assurances to which it is entitled under the Lease Agreement-

            just as it did with La Roche.

                    31.    To that end, on May 11 , 202 1, Ms. Brown sent a letter to Jeffrey L. Strader, Vice

            President for Finance and Strategic Partnerships at Albright. See Ex. L. Ms. Brown requested the

            information and assurances to which TDI is entitled under Section 10(c )(iv), concerning whether

            WCO is a Competing Entity; under Section 10(c)(i), to ensure that WCO will

                                                       under the Lease Agreement and

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c::                            These rights are critical not only because the requested information is important
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            in its own right, but because it bears directly on whether TDI will                     . TDI ' s letter
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            Case 2:23-cv-04347-DMG-E Document 88 Filed 03/06/24 Page 26 of 40 Page ID #:922




              a lso included a list of questions intended to facilitate the exchange of information required by the

              Lease Agreement.

                      32.    Ms. Brown sent a similar letter to WCO on the same day. Ex. M. In that letter,

              Ms. Brown requested substantially the same information, consistent with TOI's rights under the

              Lease Agreement. The letter included a similar series of questions, including several under the

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  ...-I       WCO's conclusory assertions that it does not meet the Lease Agreement's
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  z.....                            Ex M. TOI also asked the basis of WCO's statement in its cover letter to
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              A lhright that the "principals of WCO have sourced and deployed billions of dollars to fund
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    1-,       transformative techno logies and corporate i1movation, providing capital and counsel to dozens of
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   0          companies in a wide range of industries, including Wireless Telecommunications Operations."
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              Ex. Mat 2. And TOI asked-again- for the basis of WCO's statements that (a) it is a " speciali st
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              in financing and operating telecommunications assets and companies"; (b) WCO "has previously
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 ...-I        been acti ve in the telecom industry"; and (c) Mr. Winnick' s companies "have consistently received
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~             FCC transfer approvals." Ex. Mat 2 (emphasis added).
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                     33.     WCO responded in a letter dated May 13, 2021 , which was evasive and
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 u            uninformative. Ex. N. With respect to whether it is a Competing Entity, WCO again parroted the
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~VJ           Lease Agreement' s definition of                      verbatim and stated that it does not meet any
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              of that definition' s tlu·ee criteria. Ex.Nat 1. Again, WCO provided no supporting information or
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              explanation of any kind. Ex.Nat 1. And it refused to respond to TDI' s questions seeking to elicit
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.:.c:         that informati on- including those about the statements in WCO's letters to A lbright and La
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              Roche- which it claimed "are outside the bounds of any legal obligation WCO has to [TOI]."
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....C         Ex N at 2. In addition, although WCO acknowledged that, " [i]f the assignment of the license
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             WND475 , from A lbright to WCO is consummated, WCO hereby confirms that it will assume all

             of Albright's obligations and acknowledge N SAC's rights under the Lease Agreement," Ex Nat

             2, it offered no confirmation with respect to TDI's contractual rights.

                       34.     A lbright responded to TDI in a letter dated May 14, 202 1. Ex. 0. Albrigbt's

             response, while slightly more fulsome than WCO's, provided no add itional information

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             concerning WCO' s status as a                       . Ex. 0. To the contrary, it stated that, except for
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             referring TDI to the conclusory statements made by WCO, it " has no other information" about the
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z.....                               issue or about the various questions that TDI posed in an effort to elucidate
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             it. Ex. 0 at 5. A lbright declined to provide any information regarding its communications with
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  i..        WCO- which undoubtedly addressed the                                  issue- clai ming that "the Lease
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  C:         Agreement does not provide TOI with any right to receive thi s info rmation." Ex. 0 at 4. Nor did
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0-c          Albright provide any additional information with respect to WCO 's agreement in writing to
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0-c          assume all of Albright' s obligations and acknowledge a ll of the TOI' s rights; Albright again
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             mere ly referred T DI to WCO's letters, which say nothing about TOI. Ex. 0 at 3 .
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~                      35 .    Albright's letter then interpreted TDI' s
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 u           party buyer of the License is not, in fact, a                         Specifically, Albright contended
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~"'          that the phrase                                                                  in Section 3(b) applies
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             only to
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.....                                                   "-and that TDI's
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~"'i..       is mere ly a " non-discrimination provision," which similarly does not entitle TDI to receive the
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c...         information it requested. Ex. 0 at 2. Albright' s position, that TDI is entitled to the terms of the
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.cC:         offer and nothing more, gives TDI no means with which to vindicate its right to prevent a sale of
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  the License to a Competing Entity, and would force TDI to rely on nothing more than WCO' s

  conclusory assertions to that effect.

          36.    To be clear, the                  has never started running because Albright: (i) did

  not carry its burden of establ ishing that WCO is not                           , and thus that its term

  sheet was a                   that A lbright could validly accept; (ii) has not fu lfil led its obligations

  under Section 3(£) regarding TDI 's                        because it refuses to share with TOI all of

  the information to which TOI is entitled under that provision; and (iii) has not ensured that WCO




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  has given




          37.    TOI has done everything in its power to obtain the information to which it is entitled

  without resorting to litigation. See Exs. L (TDI letter to Albright), M (TDI letter to WCO), N

  (WCO response), 0 (Albright response). Those efforts uniformly have been unsuccessful. Now,

  as a last resort, TDI brings this action based on Albright's breaches of

                                                               , and for a declaration that Albright has




  -
  failed to




                                          CAUSES OF ACTION

                                             COUNTI
                                 (Breach of Contract - Exclusivity)

         38.     Paragraphs 1- 3 7 above are incorporated as if fully set forth here in.

         39.     The Lease Agreement constitutes a valid and enforceable contract between TDI and

  Albright.

         40.     TOI complied wi th all conditions precedent and fully performed its obligations

  under the Lease Agreement.



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                    41.      A lbright breached Section 3(a) of the Lease Agreement. That section provides that,




                                                                      Subsection 10(c), in turn,

                                                                                        Notably, that provision
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                   42.       As a matter of law, because subsection I 0(c)
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  ;..       -             of Section 3(a), Albright bears the burden of demonstrating that the requirements of
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  c::       Section 10(c) are met.
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~                  43.       Albright has not carried that bLU·den with respect to showing that
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                                                          . The only information that it or WCO has provided
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            concerning the                           is WCO ' s unsupported statements that it does meet any of
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            the three criteria fo r qualifying as such an entity.   Albright has informed TDI that it has no
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0           information about these issues beyond WCO's assertions; WCO has flatly refused to provide any
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 u          additional information that would substantiate (or disprove) them; and both Albright and WCO
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/"          have refused to provide any info rmation about their discussions, which unquestionably addressed
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            reason to suspect that WCO is, in fact,                       . WCO made a point of touting to
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            A lbright that " principals of WCO have sourced and deployed bi llions of dollars to fund
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            transformative technologies and corporate innovation, providing capital and counsel to dozens of
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C:          companies in a w ide range of industries, including Wireless Telecommunications Operations."
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        Case 2:23-cv-04347-DMG-E Document 88 Filed 03/06/24 Page 30 of 40 Page ID #:926




          Ex . D at 1. And in making its offer to La Roche, WCO stated that (a) it is a "specialist in financing

          and operating teleco111mu11ications assets and companies"; (b) it "has previously been active in

          the te lecom industry"; and (c) Mr. Wi nnick's compan ies " have consistently received FCC transfer

          approvals." Ex . Cat I (emphasis added). Compounding these troubling statements is Winnick &

          Company's hi story of operating competing telecommunications providers like Global Crossing

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00        and Metro PCS, as well as Mr. Winnick's assertion during the December I 5 telephone
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          conversation regarding the La Roche offer that WCO 's efforts to acquire EBS licenses would be
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z         ongo ing.     And when TDI has inquired as to the basis for WCO 's statements, it has been

          stonewalled by WCO, La Roche, and now Albright. That is notable because (a) Albright has had

          discussions with WCO about the non-binding term sheet, and it is inconceivable that the

                                   issue was not addressed during those discussions; (b) WCO clearly is

          attempting to put together a substantial block of EBS spectrum; and (c) an entity seeking to build

          a 5G network naturally would focus on acquiring 2.5 GHz spectrum. All of this raises legitimate

          concerns that WCO is in fact a                            Against this background, A lbright has not

          carried its burden of establishing that WCO is not a

                  44.       A lbright a lso has not carried its burden with respect to subsection l 0(c)(i). Under

          Section 10(c ),




                                         As discussed above, WCO has not assured TOI, the current Licensor

          under the Lease Agreement, in writing that it will "assume a ll of Licensee's obligations hereunder




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              Case 2:23-cv-04347-DMG-E Document 88 Filed 03/06/24 Page 31 of 40 Page ID #:927




                and acknowledges a ll of [TDI's] rights hereunder." WCO has only offered such assurances to

                NSAC- TDI' s predecessor in interest.

                         45.   Because A lbright seeks to assign the License without having carried its burden to



                         46.   Consequently, the Court should enjoin A lbright from proceed ing with any sale,
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 00             assignment, or other transfer of the License or its rights thereunder to WCO, or should unwind any
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                such transaction that Albright and WCO already have purported to consummate.
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z.....                   WHEREFORE, TDI respectfully asks the Court to:
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                        a.     Order necessary and appropriate injunctive relief, including a permanent/final
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   i>-.
   r..          injunction preventing A lbright from selling, transferring, or assigning the License to WCO or any
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  0             of its affi liates, or unwinding any such trnnsaction to the extent Albright already has purported to
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  e             effect it;
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                         b.    Award TOI compensatory damages in an amount exceeding $50,000;
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,-(                     c.     Award TD] all costs and interest allowed by law;
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~                       d.     Pursuant to Section 2 1(f) of the Lease Agreement,
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,-u             -;and
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~fJJ                    e.     Award TDI such other relief as the Court deems just and reasonable.
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 0                      f.     A ward TD I such other relief as is just and reasonable; and
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 0                      g.     Provide TDI with the right to amend this complaint in the event the Court
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~               determines TOI has fai led to adequately plead any of the foregoing claims against Albright or as
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                other events may warrant.
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                                            COUNT II
                             {Breach of Contract - Right to Participate)

          47.    Paragraphs 1-46 above are incorporated as if fu lly set fo1ih herein.

          48.    The Lease Agreement constitutes a valid and enforceable contract between TOI and

  Albri ght.

          49.    TOI complied with all conditions precedent and fully performed its obli gations

  under the Lease Agreement.

          50.    A lbright breached Section 3(f) of the Lease Agreement. That section provides that,




                                  TOI, in additi on to TOl ' s

                         under subsection 3(f)(v) .

          51 .   Upon information and be lief, Albright solicited bids, proposals, and offers from

  WCO for the sale or assignment of the License and those solicitations occurred both before and

  after WCO sent the non-b inding term sheet to Albright.

          52.    Albright has refused to share extensive information concerning WCO's non-

  binding term sheet, including, without limitation , its refusal to share any info rmation about its

  communications with WCO, which obviously centered around the term sheet. Albright thus has

  fai led to provide TOI with the same opportunity as WCO to receive information with respect to

  WCO' s bid and to discuss that info rmation with Albright.

         53 .    TOI is entitled to all legal and equitable remedies available under the law, including

  specific performance of Albright' s obligations under Section 3(f) of the Lease Agreement.



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        Case 2:23-cv-04347-DMG-E Document 88 Filed 03/06/24 Page 33 of 40 Page ID #:929




                   WHEREFORE, TOI respectfull y asks the Court to:

                   a.    Order necessary and appropriate i1tjunctive relief, including a permanent/final

          injunction preventing Albright from selling, transferring, or assigning the License to WCO or any

          of its affi liates, or unwinding any such transaction to the extent Albright already has purported to

          effect it;

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00                b.     Order specific performance by Albright of Section 3(£) of the Lease Agreement, I
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                  c.     Award TOI compensatory damages in an amount exceeding $5 0,000;

                  d.     Award TOI all costs and interest allowed by law;

                  e.     Pursuant to Section 2 l (f) of the Lease Agreement,



          - ; and

                  f.     Award TOI such other relief as the Court deems just and reasonable.

                  g.     Award TOI such other relief as is just and reasonable; and

                  h.     Provide TDI with the right to amend this complaint in the event the Court

          determines TOI has failed to adequately plead any of the foregoing claims against Albright or as

          other events may warrant.

                                                   COUNTIII
                                         (Declaratory Judgment - ROFR)

                  54.    Paragraphs 1- 53 above are incorporated as if fully set forth herein.

                  55.    Under Section 3(b) of the Lease Agreement,

                                                                                                     Because

          Section I 0(c) of the Lease Agreement



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                   56.    As a matter of law and equity, the time period during which TOI must -

                                          does not begin running until A lbright has established that the third

           party offer is bona fide and can be accepted. Otherwise, Albri ght could obtain an invalid offer-

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 00        the invalidity of which is concealed- and compel TOI to match it or risk losing its rig ht to do so.
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 ~         If TDl chose to match it, then Albright would have coerced a significant sum of mo ney -
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 z0        -       in this case) that TOI never was required to pay. Such a result is precluded by the Lease

           Agreement and governing equitable principles.

                  WHEREFORE, TOI respectfully asks the Court to:

                  a.      Issue a declaratory judgment that the time period during which TOI must decide

           whether to exercise its ROFR will not start running, if at all, until Albright has establi shed that

           W CO is not a Competing Entity;

                  b.      Award TOI all costs and interest a llowed by law;

                  C.      Pursuant to Section 2 1(f) of the Lease Agreement,




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                  d.

                  e.
                          Award TOI such other relief as is just and reasonable; and

                          Provide TOI with the right to amend this compla int in the event the Cou1t
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           determines TOI has failed to adequately plead any of the foregoing claims against Albright o r as


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                 Dated: May 27, 2021                       Respectfully submitted,



                                                           By: _Isl Steven J. Engelmeyer

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                                                           42840 Paul G. Gagne, PA ID No.
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                Exhibit D
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AT&T Is Paying the Biggest Breakup Fee Ever
WSJ wsj.com/articles/BL-DLB-35948

                                                                               December 19, 2011



ILLUSTRATION: Universal/Everett Collection
AT&T had scored the biggest corporate merger of 2011. Now, it has another record for its
mantle.

AT&T will be paying ex-merger partner T-Mobile USA $4 billion in cash and assets for
walking away from their proposed $39 billion marriage. The fee, at 10.2% of the total
purchase price, ranks among the largest-ever penalties for killing a corporate deal, according
to Dealogic.

Dealogic indicates that, while the fee amount is smaller than the $4.4 billion that AOL agreed
in 2000 to pay if it had walked away from the acquisition of Time Warner, that fee only
represented 3.9% of the $112 billion total value of the transaction. (That deal, of course,
passed regulatory muster and went on to be perhaps the worst corporate marriage in history.
It has been unwound now.)

For those deals that didn't close, AT&T's payment is closest to the terms of MCI Worldcom's
proposed takeover of Sprint in 1999. In that $111 billion failed merger, MCI agreed to pay
$2.5 billion.




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